           Case 2:09-cr-00018-RAJ          Document 21       Filed 02/06/09      Page 1 of 2




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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09         Plaintiff,                     )
                                          )             Case No. CR09-18-RAJ
10         v.                             )
                                          )
11   BRANDON FERNANDO,                    )             DETENTION ORDER
                                          )
12         Defendant.                     )
     ____________________________________ )
13
     Offenses charged:
14
            Count 3:        Knowing Possession of Stolen United States Mail, in violation of 18
15                          U.S.C. § 1708 and § 2

16          Counts 4-8:     Theft of United States Mail, in violation of 18 U.S.C., § 1708 and § 2

17          Count 9:        Credit Card Access Device Fraud, in violation of 18 U.S.C. §
                            1029(a)(5) and § 2
18
            Count 10:       Aggravated Identity Theft, in violation of 18 U.S.C. § 1028A and § 2
19
     Date of Detention Hearing:    February 6, 2009.
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth,
22
     finds the following:
23
     FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
24
            (1)     Defendant is not employed.
25
            (2)     Defendant has no support structure.
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
          Case 2:09-cr-00018-RAJ          Document 21       Filed 02/06/09      Page 2 of 2




01          (3)    Defendant has a history of failures to appear.

02          (4)    Defendant attempted to hide when arrested for the instant offense. This

03                 corresponds to previous convictions of attempts to elude.

04          (5)    Defendant has ongoing substance abuse problems.

05          (6)    Defendant is associated with three dates of birth and an alias name.

06          (7)    There are no conditions or combination of conditions other than detention that

07 will reasonably assure the appearance of defendant as required or ensure the safety of the

08 community.

09          IT IS THEREFORE ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correctional facility separate, to the

12                 extent practicable, from persons awaiting or serving sentences or being held in

13                 custody pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation

15                 with counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which defendant

18                 is confined shall deliver the defendant to a United States Marshal for the

19                 purpose of an appearance in connection with a court proceeding; and

20          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United

22                 States Pretrial Services Officer.

23                 DATED this 6th day of February, 2009.

24

25
                                                         A
                                                         JAMES P. DONOHUE
                                                         United States Magistrate Judge
26

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
